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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

In re:                              )
                                    )
TEMPUS AIRCRAFT SALES AND           )     Case No. 18-13507 EEB
SERVICE, LLC,                       )     Chapter 11
             Debtor.                )
____________________________________)
                                    )
TEMPUS AIRCRAFT SALES AND           )
SERVICE, LLC,                       )     Adversary Proceeding No. 18-01167 EEB
                                    )
                        Plaintiff,  )
v.                                  )
                                    )
THE TRAVELERS INDEMNITY             )
COMPANY; ORION AIRGROUP             )
HOLDINGS, LLC; LOW COUNTRY          )
TRADING IV, LLC; LOW COUNTY         )
TRADING VI, LLC; TEMPUS JET         )
CENTERS III, LLC; GODFREY |         )
JOHNSON, P.C.; BRETT GODFREY;       )
AARON BAKKEN; THE LAW OFFICES )
OF FRED C. BEGY III; FRED C. BEGY )
III; THE STANG LAW FIRM; MARK A. )
STANG; FIREFLY FINANCIAL LTD.;      )
STONEBRIAR COMMERCIAL               )
FINANCE; and, BANK OF THE WEST, )
N.A.,                               )
                        Defendants. )
______________________________________________________________________________

                                    CERTIFICATE OF SERVICE


         I, Sarai Galvan, certify that I am, and at all times during the service of process was, not less than
18 years of age and not a party to the matter concerning which service of process was made. I further
certify that the service of the Summons, Complaint and Notice to Litigants was made the 30th day of
May, 2018, by first-class, United States mail, postage pre-paid, addressed to:

The Travelers Indemnity Company                         Orion Airgroup Holdings, LLC
1560 Broadway,                                          12260 E. Control Tower Road,
Denver, CO 80202                                        Englewood, CO 80112

Low Country Trading IV, LLC                             Tempus Jet Centers III, LLC
12260 E. Control Tower Road,                            12260 E. Control Tower Road,
Englewood, CO 80112                                     Englewood, CO 80112

Low County Trading VI, LLC                              Godfrey Johnson, P.C.
12260 E. Control Tower Road                             9557 S Kingston Ct,
Englewood, CO 80112                                     Englewood, CO 80112
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Brett Godfrey                                          Aaron Bakken
9557 S Kingston Ct,                                    9557 S Kingston Ct,
Englewood, CO 80112                                    Englewood, CO 80112

The Law Offices of Fred C. Begy III                    Fred C Begy III
200 N Lasalle St 2810                                  5 Roanoke Ct Burr Ridge
Chicago, IL 60601                                      Chicago IL, 60577

Stang-Law Firm                                         Mark A. Stang
Attn: Mark A. Stang                                    584 Hyacinth Place
584 Hyacinth Place                                     Highland Park, IL 60035-1265
Highland Park, IL 60035-1265

Firefly Financial LTD.                                 Stonebriar Commercial Finance
c/o Edward E. Bagnell, Jr.                             12649 W Warren Ave,
411 East Franklin Street, Suite 600                    Lakewood, CO 80228
Richmond, VA 23219
                                                       Donald D. Allen
BANK OF THE WEST, N.A.                                 Jennifer M Salisbury
c/o Nandita Bakhshi, CEO                               James T. Markus
180 Montgomery Street                                  1700 Lincoln Street, Ste. 4550
San Francisco, CA 94104                                Denver, CO 80203
via certified mail

Thomas E.M. Werge
LeElle Slifer
900 Jackson Street, Suite 500
Dallas, TX 75202

        Under penalty of perjury, I declare that the foregoing is true and correct.
        DATE: May 30, 2018

                                                  /s/ Sarai Galvan
                                                  Paralegal
